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                                                 Jim Kolotouros

                                                                  Christopher Li Sidney Lee




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●   Note: “CN OEMs” inc. Xiaomi, Oppo, Vivo, Gionee, TCL, ZTE, Lenovo/Moto, Transsion, OnePlus, Coolpad, Wiko, and Meizu




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